

Matter of Charlie C. (Thomas C.) (2020 NY Slip Op 02596)





Matter of Charlie C. (Thomas C.)


2020 NY Slip Op 02596


Decided on May 1, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 1, 2020

PRESENT: CARNI, J.P., LINDLEY, CURRAN, WINSLOW, AND BANNISTER, JJ. (Filed May 1, 2020.) 


MOTION NO. (1234.1/19) CAF 18-00908.

[*1]IN THE MATTER OF CHARLIE C. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; THOMAS C., RESPONDENT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for reargument dismissed as untimely. Motion otherwise denied.








